Case 3:21-cv-00253-HEH Document 1-8 Filed 04/15/21 Page 1 of 3 PagelD# 62

Exhibit G
Case 3:21-cv-00253-HEH Document 1-8 Filed 04/15/21 Page 2 of 3 PagelD# 63

3/31/2021 State Rankings of Core Measures, Employment & Training Administration (ETA) - U.S. Department of Labor

State Rankings of Core Measures

State Ranking of Core Measures for the Period: 10/01/2020 to 12/31/2020
Run Date: 3/31/2021

Nonmonetary
Determinations
21-day
Timeliness
State Yo
TX 95.7
co 95.6
ID 89.3
™N 88.5
ND 85.1
wy 83.1
LA 82.3
NE 80.6
MS 173
IL 724
MN 70.4
ME 69.2
NM 66.7
NC 65.5
WA 59.9
AZ 59.7
AK 52.9
NJ 51.6
UT 50.3
AL “46.1
sc 44.0
MO 43.0
BC 42.7
MD 40.5
KS 38.6
MT 38.5
RI 35.0
PR 34.2
WV 29.0
NH 28.3
IN 28.3
CT 28.2
VT 27.9
NV 26.4
OK 24.8
OH 23.8
MA 21.7
FL 21.0
MI 20.5
GA 12.7
Wi 12.6
PA 10.6
HI 10.5
NY 99
KY 99
SD 91
VI 8.5
IA 74
DE 66
CA 65
OR 49
AR 43
VA 41
US 42.6

* State did not submit any reports for the period.
* State did not submit all reports for the period and performance has been estimated based on the partial data submitted.

https://oui.doleta.gov/unemploy/ranking/rankingrpt.asp 1/2
Case 3:21-cv-00253-HEH Document 1-8 Filed 04/15/21 Page 3 of 3 PagelD# 64

3/31/2021 State Rankings of Core Measures, Employment & Training Administration (ETA) - U.S. Department of Labor

State Ranking of Core Measures for the Period: 10/01/2020 to 12/31/2020
Run Date: 3/31/2021

* State did not submit any reports for the period.
“State did not submit all reports for the period and performance has been estimated based on the partial data submitted.

https://oui.doleta.gov/unemploy/ranking/rankingrpt.asp 2/2
